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 6   Attorney for Plaintiff: JAMES RUTHERFORD
 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     BELLA SPESE, LLC, a California
                                                  325).
18   limited liability company; and DOES
     1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendant BELLA SPESE, LLC, a California limited liability company; and Does
24
     1-10 (“Defendants”) and alleges as follows:
25
                                            PARTIES
26
           1.      Plaintiff is substantially limited in performing one or more major life
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     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
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                                           COMPLAINT
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 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   BELLA SPESE, LLC, a California limited liability company, owned the property
11   located at 19945 Beach Blvd., Huntington Beach, CA 92648 (“Property”) on or
12   around February 25, 2021 upon which Adams Smoke Shop (“Business”) is located.
13          3.     Plaintiff is informed and believes and thereon alleges that Defendant
14   BELLA SPESE, LLC, a California limited liability company, currently owns the
15   Property.
16          4.     The Business is a store open to the public, which is a “place of public
17   accommodation” as that term is defined by 42 U.S.C. § 12181(7).
18          5.     Plaintiff does not know the true name of DOE Defendants, that may be
19   related to the Business and/or Property. Plaintiff is informed and believes that each
20   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
21   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants and
23   Does 1 through 10, inclusive, are ascertained.
24                               JURISDICTION AND VENUE
25          6.     This Court has subject matter jurisdiction over this action pursuant
26   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
27          7.     This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
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                                             COMPLAINT
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 1   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 2   federal ADA claims in that they have the same nucleus of operative facts and
 3   arising out of the same transactions, they form part of the same case or controversy
 4   under Article III of the United States Constitution.
 5          8.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 6   real property which is the subject of this action is located in this district and because
 7   Plaintiff's causes of action arose in this district.
 8                                FACTUAL ALLEGATIONS
 9          9.     Plaintiff went to the Business on or about February 25, 2021 for the
10   dual purpose of purchasing a gift and to confirm that this public place of
11   accommodation is accessible to persons with disabilities within the meaning federal
12   and state law.
13          10.    Unfortunately, although parking spaces were one of the facilities
14   reserved for patrons, there were no designated parking spaces available for persons
15   with disabilities that complied with the 2010 Americans with Disabilities Act
16   Accessibility Guidelines (“ADAAG”) on February 25, 2021.
17          11.    At that time, instead of having architectural barrier free facilities for
18   patrons with disabilities, Defendants’ facility has barriers that include but are not
19   limited to: accessible parking spaces that are not located on the shortest accessible
20   route to the entrance per Section 208.3.1 (Parking spaces complying with 502 that
21   serve a particular building or facility shall be located on the shortest accessible route
22   from parking to an entrance complying with 206.4. Where parking serves more than
23   one accessible entrance, parking spaces complying with 502 shall be dispersed and
24   located on the shortest accessible route to the accessible entrances. Here, the
25   accessible parking spaces are clustered instead of dispersed); no accessible route
26   connecting the parking access aisles to an accessible entrance per Sections 206.4 and
27   208.3.1 (Here, the accessible route for the van accessible parking space access aisle
28   requires the disabled patron to walk a circuitous route including walking in the
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                                             COMPLAINT
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 1   opposite direction of the entrance instead of providing a direct route to the entrance.
 2   The accessible route from the other access aisle requires the disabled patron to walk
 3   into the traffic lanes to get to the curb ramp. Also, the accessible route is being
 4   blocked by store entrance doors which are secured in the open position);
 5   noncompliant edge protection (Edge protection complying with 405.9.1 or 405.9.2
 6   shall be provided on each side of ramp runs and at each side of ramp landings per
 7   Section 405.9); and, no accessible routes connecting the parking to the main
 8   entrance or elements within the facility as required by Section 206.2.2 (which
 9   requires that at least one accessible route shall connect accessible buildings,
10   accessible facilities, accessible elements, and accessible spaces that are on the same
11   site, and 206.1 requiring access to the site arrival point (main entrance) from the
12   public street).
13          12.    Due to architectural barriers in violation of the ADA and ADAAG
14   specifications, the parking, paths of travel, and demarcated accessible spaces at the
15   Property, are inaccessible.
16          13.    Parking spaces are one of the facilities, privileges, and advantages
17   reserved by Defendants to persons at the Property serving the Business.
18          14.    Because Defendant BELLA SPESE, LLC, a California limited liability
19   company, owns the Property, which is a place of public accommodation, they are
20   responsible for the violations of the ADA that exist in the parking area and
21   accessible routes that connect to the facility’s entrance that serve customers to the
22   Business.
23          15.    Subject to the reservation of rights to assert further violations of law
24   after a site inspection found infra, Plaintiff asserts there are additional ADA
25   violations which affect him personally.
26          16.    Plaintiff is informed and believes and thereon alleges Defendants had
27   no policy or plan in place to make sure that there was compliant accessible parking
28   reserved for persons with disabilities prior to February 25, 2021.
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                                            COMPLAINT
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 1          17.   Plaintiff is informed and believes and thereon alleges Defendants have
 2   no policy or plan in place to make sure that the designated disabled parking for
 3   persons with disabilities comport with the ADAAG.
 4          18.   Plaintiff personally encountered these barriers. The presence of these
 5   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
 6   conditions at public place of accommodation and invades legally cognizable
 7   interests created under the ADA.
 8          19.   The conditions identified supra are necessarily related to Plaintiff’s
 9   legally recognized disability in that Plaintiff is substantially limited in the major life
10   activities of walking, standing, ambulating, sitting, in addition to twisting, turning
11   and grasping objects; Plaintiff is the holder of a disabled parking placard; and
12   because the enumerated conditions relate to the use of the accessible parking, relate
13   to the slope and condition of the accessible parking and accessible route to the
14   accessible entrance, and relate to the proximity of the accessible parking to the
15   accessible entrance.
16          20.   As an individual with a mobility disability who at times relies upon a
17   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
18   accommodations have architectural barriers that impede full accessibility to those
19   accommodations by individuals with mobility impairments.
20          21.   Plaintiff is being deterred from patronizing the Business and its
21   accommodations on particular occasions, but intends to return to the Business for the
22   dual purpose of availing himself of the goods and services offered to the public and
23   to ensure that the Business ceases evading its responsibilities under federal and state
24   law.
25          22.   Upon being informed that the public place of accommodation has
26   become fully and equally accessible, he will return within 45 days as a “tester” for
27   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
28   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
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                                            COMPLAINT
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 1          23.      As a result of his difficulty experienced because of the inaccessible
 2   condition of the facilities of the Business, Plaintiff was denied full and equal access
 3   to the Business and Property.
 4          24.      The Defendants have failed to maintain in working and useable
 5   conditions those features required to provide ready access to persons with
 6   disabilities.
 7          25.      The U.S. Department of Justice has emphasized the importance of
 8   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
 9   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
10   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
11   Coronavirus Disease 2019 (COVID-19) found at
12   https://www.ada.gov/aag_covid_statement.pdf.
13          26.      The violations identified above are easily removed without much
14   difficulty or expense. They are the types of barriers identified by the Department of
15   Justice as presumably readily achievable to remove and, in fact, these barriers are
16   readily achievable to remove. Moreover, there are numerous alternative
17   accommodations that could be made to provide a greater level of access if complete
18   removal were not achievable.
19          27.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
20   alleges, on information and belief, that there are other violations and barriers in the
21   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
22   notice regarding the scope of this lawsuit, once he conducts a site inspection.
23   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
24   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
25   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
26   have all barriers that relate to his disability removed regardless of whether he
27   personally encountered them).
28          28.      Without injunctive relief, Plaintiff will continue to be unable to fully
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                                              COMPLAINT
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 1   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 2                               FIRST CAUSE OF ACTION
 3    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 4      42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 5                                        (P.L. 110-325)
 6         29.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 7   above and each and every other paragraph in this Complaint necessary or helpful to
 8   state this cause of action as though fully set forth herein.
 9         30.    Under the ADA, it is an act of discrimination to fail to ensure that the
10   privileges, advantages, accommodations, facilities, goods, and services of any place
11   of public accommodation are offered on a full and equal basis by anyone who owns,
12   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
13   Discrimination is defined, inter alia, as follows:
14                a.     A failure to make reasonable modifications in policies, practices,
15                       or procedures, when such modifications are necessary to afford
16                       goods, services, facilities, privileges, advantages, or
17                       accommodations to individuals with disabilities, unless the
18                       accommodation would work a fundamental alteration of those
19                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
20                b.     A failure to remove architectural barriers where such removal is
21                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
22                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
23                       Appendix "D".
24                c.     A failure to make alterations in such a manner that, to the
25                       maximum extent feasible, the altered portions of the facility are
26                       readily accessible to and usable by individuals with disabilities,
27                       including individuals who use wheelchairs, or to ensure that, to
28                       the maximum extent feasible, the path of travel to the altered area
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                                            COMPLAINT
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 1                         and the bathrooms, telephones, and drinking fountains serving
 2                         the area, are readily accessible to and usable by individuals with
 3                         disabilities. 42 U.S.C. § 12183(a)(2).
 4         31.       Any business that provides parking spaces must provide accessible
 5   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
 6   shall be at the same level as the parking spaces they serve. Changes in level are not
 7   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
 8   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
 9   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
10   designated disabled parking space is a violation of the law and excess slope angle in
11   the access pathway is a violation of the law.
12         32.       A public accommodation must maintain in operable working condition
13   those features of its facilities and equipment that are required to be readily accessible
14   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
15         33.       Here, the failure to ensure that accessible facilities were available and
16   ready to be used by Plaintiff is a violation of law.
17         34.       Given its location and options, Plaintiff will continue to desire to
18   patronize the Business but he has been and will continue to be discriminated against
19   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
20   the barriers.
21                                SECOND CAUSE OF ACTION
22       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
23         35.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
24   above and each and every other paragraph in this Complaint necessary or helpful to
25   state this cause of action as though fully set forth herein.
26         36.       California Civil Code § 51 et seq. guarantees equal access for people
27   with disabilities to the accommodations, advantages, facilities, privileges, and
28   services of all business establishments of any kind whatsoever. Defendants are
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                                              COMPLAINT
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 1   systematically violating the UCRA, Civil Code § 51 et seq.
 2         37.    Because Defendants violate Plaintiff’s rights under the ADA,
 3   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 4   52(a).) These violations are ongoing.
 5         38.    Plaintiff is informed and believes and thereon alleges that Defendants’
 6   actions constitute discrimination against Plaintiff on the basis of a disability, in
 7   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
 8   previously put on actual or constructive notice that the Business is inaccessible to
 9   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
10   inaccessible form, and Defendants have failed to take actions to correct these
11   barriers.
12                                          PRAYER
13    WHEREFORE, Plaintiff prays that this court award damages provide relief as
14   follows:
15         1.     A preliminary and permanent injunction enjoining Defendants from
16   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
17   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
18   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
19   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
20   under the Disabled Persons Act (Cal. C.C. §54) at all.
21         2.     An award of actual damages and statutory damages of not less than
22   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
23         3.     An additional award of $4,000.00 as deterrence damages for each
24   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
25   LEXIS 150740 (USDC Cal, E.D. 2016); and,
26         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
27   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
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                                            COMPLAINT
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 1                                DEMAND FOR JURY TRIAL
 2          Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 3    raised in this Complaint.
 4

 5    Dated: March 26, 2021            MANNING LAW, APC
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 7                                     By: /s/ Joseph R. Manning Jr., Esq.
                                          Joseph R. Manning Jr., Esq.
 8                                        Attorney for Plaintiff
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